

People v Salley (2024 NY Slip Op 06670)





People v Salley


2024 NY Slip Op 06670


Decided on December 31, 2024


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: December 31, 2024

Before: Renwick, P.J., González, Rodriguez, Higgitt, Rosado, JJ. 


Ind. No. 4395/01 Appeal No. 3365 Case No. 2020-00711 

[*1]The People of the State of New York, Respondent,
vSean Salley, Appellant.


Marianne Karas, Thornwood, for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Michael D. Tarbutton of counsel), for respondent.



Appeal from order, Supreme Court, New York County (Thomas Farber, J.), entered on or about July 9, 2019, which, as limited by the briefs, denied defendant's CPL 440.10 motion to vacate a judgment of conviction of the same court (Carol Berkman, J.), rendered July 29, 2002, unanimously dismissed, on the ground of failure to obtain leave to appeal pursuant to CPL 460.15.
Because defendant did not seek or obtain permission from a Justice of this Court to appeal from the order that denied his CPL 440.10 motion, this Court lacks
jurisdiction to entertain the appeal (see CPL 450.15 [1]; 460.15; People v Rosario, 151 AD3d 450, 450 [1st Dept 2017]; People v Ramos, 105 AD3d 684, 685 [1st Dept 2013], lv denied 21 NY3d 1045 [2013]).
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: December 31, 2024








